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                       EXHIBIT 18
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                             Economic Loss and Property Class Definition Exclusions

                  (Gaming, Banking, Insurance, Funds, Defense Contractors, and Developers)

Business Entities within the NAICS Code descriptions set forth in Sections I-IV below, or within the
descriptions set forth below in Sections V (Defense Contractors) and VI (Developers and Sellers of Real
Property), and Natural Persons (Individuals) employed by such business entities, are excluded from the
class to the extent and in the manner set forth in the Excluded Industries Chart [026686 - 026693].1

With respect to claims by any Business Entity or by a Natural Person related to his or her employment by
a Business Entity, the Claims Administrator shall determine the appropriate NAICS code for the Business
Entity based on his review of (a) the NAICS code shown on a Business Entity claimant’s 2010 tax return,
(b) 2010 business permits or license(s), and/or (c) other evidence of the business’s activities necessary
for the Claims Administrator to determine the appropriate NAICS code.

For Defense Contractors and Real Estate Developers or Sellers, the applicability of the exclusion will be
determined by the Claims Administrator based upon his review of (a) the claimant’s 2010 tax return,
(b) 2010 business permits or license(s), and/or (c) other evidence of the relevant business’s or
individual’s activities necessary for the Claims Administrator to determine whether the exclusion
applies.


                       2
    I. Gaming Industry
         713210 - Casinos (except Casino Hotels)
              This industry comprises establishments primarily engaged in operating gambling facilities that
              offer table wagering games along with other gambling activities, such as slot machines and sports
              betting. These establishments often provide food and beverage services. Included in this industry
              are floating casinos (i.e., gambling cruises, riverboat casinos).
                            Casinos (except casino hotels)
                            Cruises, gambling
                            Floating casinos (i.e., gambling cruises, riverboat casinos)
                            Gambling cruises
                            Riverboat casinos
                            Stand alone casinos (except slot machine parlors)
         713290 - Other Gambling Industries
              This industry comprises establishments primarily engaged in operating gambling facilities (except
              casinos or casino hotels) or providing gambling services.
                            Bingo halls
                            Bingo parlors
                            Bookies
                            Bookmakers
                            Card rooms (e.g., poker rooms)

1
  Business Entities and Natural Persons (Individuals) also may be subject to other exclusions as set forth in the
Agreement in Principle Regarding Deepwater Horizon Economic and Property Damages Settlement.
2
  The following business types will not be excluded: (1) bingo parlors and (2) video gaming at truck stops, bars,
restaurants, hotels, racetracks, bingo parlors, and off-track betting parlors.
                                                           1



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                           Coin-operated gambling device concession operators (i.e., supplying and servicing in
                           others' facilities)
                           Gambling control boards, operating gambling activities
                           Gambling device arcades or parlors, coin-operated
                           Gambling device concession operators (i.e., supplying and servicing in others'
                           facilities), coin-operated
                           Lottery control boards (i.e., operating lotteries)
                           Lottery corporations
                           Lottery ticket sales agents (except retail stores)
                           Lottery ticket vendors (except retail stores)
                           Off-track betting parlors
                            Slot machine concession operators (i.e., supplying and servicing in others' facilities)
                            Slot machine parlors
                            Video gambling device concession operators (i.e., supplying and servicing in others'
                            facilities)
                            Video gaming device concession operators (i.e., supplying and servicing in others'
                            facilities)
         721120 - Casino Hotels
             This industry comprises establishments primarily engaged in providing short-term lodging in hotel
             facilities with a casino on the premises. The casino on premises includes table wagering games and
             may include other gambling activities, such as slot machines and sports betting. These
             establishments generally offer a range of services and amenities, such as food and beverage
             services, entertainment, valet parking, swimming pools, and conference and convention facilities.
                           Casino hotels
                           Hotels, casino
                           Hotels, resort, with casinos
                           Hotels, seasonal, with casinos
                           Resort hotels with casinos
          711212 - Racetracks
              This U.S. industry comprises establishments primarily engaged in operating racetracks. These
              establishments may also present and /or promote the events, such as auto, dog, and horse races,
              held in these facilities.
                           Automobile racetracks
                           Dog racetracks
                           Drag strips
                           Greyhound dog racetracks
                           Harness racetracks
                           Horse racetracks
                           Motorcycle racetracks
                           Racetracks (e.g., automobile, dog, horse)
                           Snowmobile racetracks
                           Speedways
                           Stock car racetracks
                           Thoroughbred racetracks
                         3
    II. Banking Industry


3
 The following business types will not be excluded: standalone ATM businesses, payday loans or paycheck advance
businesses.
                                                            2



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  522110 - Commercial Banking
      This industry comprises establishments primarily engaged in accepting demand and other deposits
      and making commercial, industrial, and consumer loans. Commercial banks and branches of
      foreign banks are included in this industry.
                    Banks, commercial
                    Branches of foreign banks
                    Commercial banking
                    Commercial banks
                    Depository trust companies
                    National commercial banks
                    State commercial banks
  522120 - Savings Institutions
      This U.S. industry comprises establishments primarily engaged in accepting time deposits, making
      mortgage and real estate loans, and investing in high-grade securities. Savings and loan
      associations and savings banks are included in this industry.
                    Associations, savings and loan
                    Banks, savings
                    Federal savings and loan associations (S&L)
                    Federal savings banks
                    Institutions, savings
                    Mutual savings banks
                    Savings and loan associations (S&L)
                    Savings banks
                    Savings institutions
                    State savings and loan associations
                    State savings banks
  522190 - Other Depository Credit Intermediation
      This industry comprises establishments primarily engaged in accepting deposits and lending funds
      (except commercial banking, savings institutions, and credit unions). Establishments known as
      industrial banks or Morris Plans and primarily engaged in accepting deposits, and private banks
      (i.e., unincorporated banks) are included in this industry.
                    Banks, industrial (i.e., known as), depository
                    Banks, private (i.e., unincorporated)
                    Industrial banks (i.e., known as), depository
                    Morris Plans (i.e., known as), depository
                    Plans, Morris (i.e., known as), depository
                    Private banks (i.e., unincorporated)
  522210 - Credit Card Issuing
      This industry comprises establishments primarily engaged in providing credit by issuing credit
      cards. Credit card issuance provides the funds required to purchase goods and services in return
      for payment of the full balance or payments on an installment basis. Credit card banks are
      included in this industry.
                 Banks, credit card
                 Charge card issuing
                 Credit card banks
                 Credit card issuing
                 Issuing, credit card
  522291 - Consumer Lending


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      This U.S. industry comprises establishments primarily engaged in making unsecured cash loans to
      consumers.
                    Consumer finance companies (i.e., unsecured cash loans)
                    Consumer lending
                    Finance companies (i.e., unsecured cash loans)
                    Loan companies (i.e., consumer, personal, small, student)
                    Personal credit institutions (i.e., unsecured cash loans)
                    Personal finance companies (i.e., unsecured cash loans)
                    Small loan companies (i.e., unsecured cash loans)
                    Student loan companies
  522292 - Real Estate Credit
      This U.S. industry comprises establishments primarily engaged in lending funds with real estate as
      collateral.
                    Construction lending
                    Farm mortgage lending
                    Federal Land Banks
                    Home equity credit lending
                    Loan correspondents (i.e., lending funds with real estate as collaterial)
                    Mortgage banking (i.e., nondepository mortgage lending)
                    Mortgage companies
                    Real estate credit lending
                    Reverse mortgage lending
  522293 - International Trade Financing
      This U.S. industry comprises establishments primarily engaged in providing one or more of the
      following: (1) working capital funds to U.S. exporters; (2) lending funds to foreign buyers of U.S.
      goods; and/or (3) lending funds to domestic buyers of imported goods.
                    Agencies of foreign banks (i.e., trade financing)
                    Agreement corporations (i.e., international trade financing)
                    Banks, trade (i.e., international trade financing)
                    Edge Act corporations (i.e., international trade financing)
                    Export trading companies (i.e., international trade financing)
                    Export-Import banks
                    International trade financing
                    Trade banks (i.e., international trade financing)
                    Trade financing, international
  522294 - Secondary Market Financing
      This U.S. industry comprises establishments primarily engaged in buying, pooling, and repackaging
      loans for sale to others on the secondary market.
                    Federal Agricultural Mortgage Corporation
                    Federal Home Loan Mortgage Corporation (FHLMC)
                    Federal Intermediate Credit Bank
                    Federal National Mortgage Association (FNMA)
                    FHLMC (Federal Home Loan Mortgage Corporation)
                    Financing, secondary market
                    FNMA (Federal National Mortgage Association)
                    GNMA (Government National Mortgage Association)
                    Government National Mortgage Association (GNMA)
                    Government-sponsored enterprises providing secondary market financing
                    Real estate mortgage investment conduits (REMICs) issuing, private
                                                    4



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                    REMICs (real estate mortgage investment conduits) issuing, private
                    Repackaging loans for sale to others (i.e., private conduits)
                    Secondary market financing (i.e., buying, pooling, repackaging loans for sale to
                    others)
                    SLMA (Student Loan Marketing Association)
                    Student Loan Marketing Association (SLMA)
  522298 - All Other Nondepository Credit Intermediation [Except Pawn Shops]
      This U.S. industry comprises establishments primarily engaged in providing nondepository credit
      (except credit card issuing, sales financing, consumer lending, real estate credit, international
      trade financing, and secondary market financing). Examples of types of lending in this industry are:
      short-term inventory credit, agricultural lending (except real estate and sales financing) and
      consumer cash lending secured by personal property.
                    Agricultural credit institutions, making loans or extending credit (except real estate,
                    sales financing)
                    Agricultural lending (except real estate, sales financing)
                    Banks, industrial (i.e., known as), nondepository
                    Commodity Credit Corporation
                    Edge Act corporations (except international trade financing)
                    Factoring accounts receivable
                    Federal Home Loan Banks (FHLB)
                    Industrial banks (i.e., known as), nondepository
                    Industrial loan companies, nondepository
                    Morris Plans (i.e., known as), nondepository
                    National Credit Union Administration (NCUA)
                    Pawnshops
                    Plans, Morris (i.e., known as), nondepository
                    Purchasing of accounts receivable
                    Short-term inventory credit lending
  522310 - Mortgage and Nonmortgage Loan Brokers
      This industry comprises establishments primarily engaged in arranging loans by bringing
      borrowers and lenders together on a commission or fee basis.
                    Agencies, loan
                    Brokerages, loan
                    Brokerages, mortgage
                    Brokers' offices, loan
                    Brokers' offices, mortgage
                    Loan brokerages
                    Loan brokers' or agents' offices (i.e., independent)
                    Mortgage brokerages
                    Mortgage brokers' or agents' offices (i.e., independent)
  522320 - Financial Transactions Processing, Reserve, and Clearinghouse Activities
      This industry comprises establishments primarily engaged in providing one or more of the
      following: (1) financial transaction processing (except central bank); (2) reserve and liquidity
      services (except central bank); and/or (3) check or other financial instrument clearinghouse
      services (except central bank).
                    Automated clearinghouses, bank or check (except central bank)
                    Bank clearinghouse associations
                    Check clearing services (except central banks)
                    Check clearinghouse services (except central banks)

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                   Check validation services
                   Clearinghouses, bank or check
                   Credit card processing services
                   Electronic financial payment services
                   Electronic funds transfer services
                   Financial transactions processing (except central bank)
                   Processing financial transactions
                   Reserve and liquidity services (except central bank)
                   U.S. Central Credit Union
  522390 - Other Activities Related to Credit Intermediation
      This industry comprises establishments primarily engaged in facilitating credit intermediation
      (except mortgage and loan brokerage; and financial transactions processing, reserve, and
      clearinghouse activities).
                   Check cashing services
                   Loan servicing
                   Money order issuance services
                   Money transmission services
                   Travelers' check issuance services
  523110 - Investment Banking and Securities Dealing
      This industry comprises establishments primarily engaged in underwriting, originating, and/or
      maintaining markets for issues of securities. Investment bankers act as principals (i.e., investors
      who buy or sell on their own account) in firm commitment transactions or act as agents in best
      effort and standby commitments. This industry also includes establishments acting as principals in
      buying or selling securities generally on a spread basis, such as securities dealers or stock option
      dealers.
                     Banking, investment
                     Bond dealing (i.e., acting as a principal in dealing securities to investors)
                     Commercial paper dealing (i.e., acting as a principal in dealing securities to investors)
                     Investment banking
                     Making markets for securities
                     Market making for securities
                     Paper, dealing of commercial (i.e., acting as principal in dealing securities to
                     investors)
                     Securities dealers (i.e., acting as a principal in dealing securities to investors)
                     Securities dealing (i.e., acting as a principal in dealing securities to investors)
                     Securities distributing (i.e., acting as a principal in dealing securities to investors)
                     Securities floor traders (i.e., acting as a principal in dealing securities to investors)
                     Securities flotation companies
                     Securities originating (i.e., acting as a principal in dealing securities to investors)
                     Securities trading (i.e., acting as a principal in dealing securities to investors)
                     Securities underwriting
                     Stock options dealing (i.e., acting as a principal in dealing securities to investors)
                    Trading securities (i.e., acting as a principal in dealing securities to investors)
                    Underwriting securities
  523120 - Securities Brokerage

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       This industry comprises establishments primarily engaged in acting as agents (i.e., brokers)
       between buyers and sellers in buying or selling securities on a commission or transaction fee basis.
                   Bond brokerages
                   Brokerages, securities
                   Certificate of deposit (CD) brokers' offices
                   Commercial note brokers' offices
                   Mutual fund agencies (i.e., brokerages)
                   Mutual fund agents' (i.e., brokers') offices
                   Securities brokerages
                   Securities brokers' offices
                   Securities floor brokers
                   Stock brokerages
                   Stock brokers' offices
                   Stock options brokerages
  523130 - Commodity Contracts Dealing
      This industry comprises establishments primarily engaged in acting as principals (i.e., investors
      who buy or sell for their own account) in buying or selling spot or futures commodity contracts or
      options, such as precious metals, foreign currency, oil, or agricultural products, generally on a
      spread basis.
                   Commodity contract trading companies
                   Commodity contracts dealing (i.e., acting as a principal in dealing commodities to
                   investors)
                   Commodity contracts floor traders (i.e., acting as a principal in dealing commodities
                   to investors)
                   Commodity contracts floor trading (i.e., acting as a principal in dealing commodities
                   to investors)
                   Commodity contracts options dealing (i.e., acting as a principal in dealing
                   commodities to investors)
                   Commodity contracts traders (i.e., acting as a principal in dealing commodities to
                   investors)
                   Foreign currency exchange dealing (i.e., acting as a principal in dealing commodities
                   to investors)
                   Foreign currency exchange services (i.e., selling to the public)
                   Futures commodity contracts dealing (i.e., acting as a principal in dealing
                   commodities to investors)
                   Trading companies, commodity contracts
  523140 - Commodity Contracts Brokerage
      This industry comprises establishments primarily engaged in acting as agents (i.e., brokers) in
      buying or selling spot or future commodity contracts or options on a commission or transaction
      fee basis.
                   Brokerages, commodity contracts
                   Commodity contracts brokerages
                   Commodity contracts brokers' offices
                   Commodity contracts floor brokers
                   Commodity contracts options brokerages
                   Commodity futures brokerages
                   Financial futures brokerages
                   Futures commodity contracts brokerages
                   Futures commodity contracts brokers' offices
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  523210 - Securities and Commodity Exchanges
      This industry comprises establishments primarily engaged in furnishing physical or electronic
      marketplaces for the purpose of facilitating the buying and selling of stocks, stock options, bonds,
      or commodity contracts.
                    Commodity contracts exchanges
                    Exchanges, commodity contracts
                    Exchanges, securities
                    Futures commodity contracts exchanges
                    Securities exchanges
                    Stock exchanges
                    Stock or commodity options exchanges
  523910 - Miscellaneous Intermediation
      This industry comprises establishments primarily engaged in acting as principals (except
      investment bankers, securities dealers, and commodity contracts dealers) in buying or selling of
      financial contracts generally on a spread basis. Principals are investors that buy or sell for their
      own account.
                    Individuals investing in financial contracts on own account
                    Investment clubs
                    Mineral royalties or leases dealing (i.e., acting as a principal in dealing royalties or
                    leases to investors)
                    Oil royalty dealing (i.e., acting as a principal in dealing royalties to investors)
                    Tax liens dealing (i.e., acting as a principal in dealing tax liens to investors)
                    Venture capital companies
                    Viatical settlement companies
  523920 - Portfolio Management
      This industry comprises establishments primarily engaged in managing the portfolio assets (i.e.,
      funds) of others on a fee or commission basis. Establishments in this industry have the authority to
      make investment decisions, and they derive fees based on the size and/or overall performance of
      the portfolio.
                    Investment management
                    Managing investment funds
                    Managing mutual funds
                    Managing personal investment trusts
                    Managing trusts
                    Mutual fund managing
                    Pension fund managing
                    Personal investments trusts, managing
                    Portfolio fund managing
  523930 - Investment Advice
      This industry comprises establishments primarily engaged in providing customized investment
      advice to clients on a fee basis, but do not have the authority to execute trades. Primary activities
      performed by establishments in this industry are providing financial planning advice and
      investment counseling to meet the goals and needs of specific clients.
                    Certified financial planners, customized, fees paid by client
                    Financial investment advice services, customized, fees paid by client
                    Financial planning services, customized, fees paid by client
                    Investment advice consulting services, customized, fees paid by client
                    Investment advice counseling services, customized, fees paid by client
                    Investment advisory services, customized, fees paid by client
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     523991 - Trust, Fiduciary, and Custody Activities [Except to the extent a Trustee or Custodian of a
     Trust whose beneficiaries are one or more Natural Persons, or an executor of an estate of a Natural
     Person, or a guardian of a Natural Person asserts otherwise permitted claims.]
          This U.S. industry comprises establishments primarily engaged in providing trust, fiduciary, and
          custody services to others, as instructed, on a fee or contract basis, such as bank trust offices and
          escrow agencies (except real estate).
                       Administrators of private estates
                       Bank trust offices
                       Escrow agencies (except real estate)
                       Fiduciary agencies (except real estate)
                       Personal investments trust administration
                       Securities custodians
                       Trust administration, personal investment
                       Trust companies, nondepository
     523999 - Miscellaneous Financial Investment Activities
          This U.S. industry comprises establishments primarily engaged in acting as agents and/or brokers
          (except securities brokerages and commodity contracts brokerages) in buying or selling financial
          contracts and those providing financial investment services (except securities and commodity
          exchanges; portfolio management; investment advice; and trust, fiduciary, and custody services)
          on a fee or commission basis.
                       Clearinghouses, commodity exchange or securities exchange
                       Deposit brokers
                       Exchange clearinghouses, commodities or securities
                       Gas lease brokers' offices
                       Oil lease brokers' offices
                       Protective committees, security holders
                       Quotation services, securities
                       Quotation services, stock
                       Securities holders' protective services
                       Securities transfer agencies
                       Stock quotation services
                       Stock transfer agencies
                       Transfer agencies, securities
III. Insurance Industry
       524113 - Direct Life Insurance Carriers
           This U.S. industry comprises establishments primarily engaged in initially underwriting (i.e.,
           assuming the risk and assigning premiums) annuities and life insurance policies, disability income
           insurance policies, and accidental death and dismemberment insurance policies.
                       Accidental death and dismemberment insurance carriers, direct
                       Accidental death and dismemberment insurance underwriting, direct
                       Annuities underwriting
                       Cooperative life insurance organizations
                       Credit life insurance carriers, direct
                       Disability insurance carriers, direct
                       Disability insurance underwriting, direct
                       Fraternal life insurance organizations
                       Insurance carriers, disability, direct
                       Insurance carriers, life, direct
                       Insurance underwriting, disability, direct

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                    Insurance underwriting, life, direct
                    Life insurance carriers, direct
                    Savings bank life insurance carriers, direct
  524114 - Direct Health and Medical Insurance Carriers
      This U.S. industry comprises establishments primarily engaged in initially underwriting (i.e.,
      assuming the risk and assigning premiums) health and medical insurance policies. Group
      hospitalization plans and HMO establishments (except those providing health care services) that
      provide health and medical insurance policies without providing health care services are included
      in this industry.
                    Dental insurance carriers, direct
                    Group hospitalization plans without providing health care services
                    Health insurance carriers, direct
                    Hospital and medical service plans, direct, without providing health care services
                    Hospitalization insurance carriers, direct, without providing health care services
                    Insurance carriers, health, direct
                    Insurance underwriting, health and medical, direct
                    Medical insurance carriers, direct
                    Medical service plans without providing health care services
  524126 - Direct Property and Casualty Insurance Carriers
      This U.S. industry comprises establishments primarily engaged in initially underwriting (i.e.,
      assuming the risk and assigning premiums) insurance policies that protect policyholders against
      losses that may occur as a result of property damage or liability.
                    Agricultural (i.e., crop, livestock) insurance carriers, direct
                    Automobile insurance carriers, direct
                    Bonding, fidelity or surety insurance, direct
                    Burglary and theft insurance carriers, direct
                    Casualty insurance carriers, direct
                    Credit and other financial responsibility insurance carriers, direct
                    Crop insurance carrier, direct
                    Fidelity insurance carriers, direct
                    Fire insurance carriers, direct
                    Homeowners' insurance carriers, direct
                    Insurance carriers, fidelity, direct
                    Insurance carriers, property and casualty, direct
                    Insurance carriers, surety, direct
                    Insurance underwriting, property and casualty, direct
                    Liability insurance carriers, direct
                    Malpractice insurance carriers, direct
                    Marine insurance carriers, direct
                    Mortgage guaranty insurance carriers, direct
                    Plate glass insurance carriers, direct
                    Property and casualty insurance carriers, direct
                    Property damage insurance carriers, direct
                    Surety insurance carriers, direct
                    Workers' compensation insurance underwriting
  524127 - Direct Title Insurance Carriers
      This U.S. industry comprises establishments primarily engaged in initially underwriting (i.e.,
      assuming the risk and assigning premiums) insurance policies to protect the owners of real estate
      or real estate creditors against loss sustained by reason of any title defect to real property.
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                   Guaranteeing titles
                   Insurance carriers, title, direct
                   Insurance underwriting, title, direct
                   Real estate title insurance carriers, direct
                   Title insurance carriers, real estate, direct
  524128 - Other Direct Insurance (except Life, Health, and Medical) Carriers
      This U.S. industry comprises establishments primarily engaged in initially underwriting (e.g.,
      assuming the risk, assigning premiums) insurance policies (except life, disability income, accidental
      death and dismemberment, health and medical, property and casualty, and title insurance
      policies).
                   Bank deposit insurance carriers, direct
                   Burial insurance carriers, direct
                   Contact lens insurance, direct
                   Deposit or share insurance carriers, direct
                   Funeral insurance carriers, direct
                   Homeowners' warranty insurance carriers, direct
                   Pet health insurance carriers, direct
                   Product warranty insurance carriers, direct
                   Warranty insurance carriers (e.g., appliance, automobile, homeowners, product),
                   direct
  524130 - Reinsurance Carriers
      This industry comprises establishments primarily engaged in assuming all or part of the risk
      associated with existing insurance policies originally underwritten by other insurance carriers.
                   Accidental and health reinsurance carriers
                   Life reinsurance carriers
                   Marine reinsurance carriers
                   Medical reinsurance carriers
                   Property and casualty reinsurance carriers
                   Reinsurance carriers
  524210 - Insurance Agencies and Brokerages
      This industry comprises establishments primarily engaged in acting as agents (i.e., brokers) in
      selling annuities and insurance policies.
                   Agencies, insurance
                   Brokerages, insurance
                   Brokers' offices, insurance
                   Insurance agencies
                   Insurance brokerages
                   Life insurance agencies
  524291 - Claims Adjusting
      This industry comprises establishments primarily engaged in investigating, appraising, and settling
      insurance claims.
                   Cause-of-loss investigators, insurance
                   Claims adjusting, insurance
                   Fire investigators
                   Insurance claims adjusting
                   Insurance claims investigation services
                   Insurance settlement offices
                   Loss control consultants
  524292 - Third Party Administration of Insurance and Pension Funds
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          This U.S. industry comprises establishments primarily engaged in providing third party
          administration services of insurance and pension funds, such as claims processing and other
          administrative services to insurance carriers, employee-benefit plans, and self-insurance funds.
                       Claims processing services, insurance, third-party
                       Employee benefit plans, third-party administrative processing services
                       Insurance claims processing services, third party
                       Insurance fund, third party administrative services (except claims adjusting only)
                       Insurance plan administrative services (except claims adjusting only), third-party
                       Pension fund, third party administrative services
     524298 - All Other Insurance Related Activities
         This U.S. industry comprises establishments primarily engaged in providing insurance services on a
         contract or fee basis (except insurance agencies and brokerages, claims adjusting, and third party
         administration). Insurance advisory services and insurance ratemaking services are included in this
         industry.
                       Actuarial services, insurance
                       Insurance actuarial services
                       Insurance advisory services
                       Insurance coverage consulting services
                       Insurance exchanges
                       Insurance investigation services (except claims investigation)
                       Insurance loss prevention services
                       Insurance processing, contract or fee basis
                       Insurance rate making services
                       Insurance reporting services
                       Insurance underwriters laboratories and standards services
                       Medical cost evaluation services
                       Rate making services, insurance
IV. Funds, Trusts, and Other Financial Vehicles
     525110 - Pension Funds
          This industry comprises legal entities (i.e., funds, plans, and/or programs) organized to provide
          retirement income benefits exclusively for the sponsor's employees or members.
                      Employee benefit pension plans
                      Funds, employee benefit pension
                      Funds, pension
                      Pension funds
                      Pension plans (e.g., employee benefit, retirement)
                      Plans, pension
                      Retirement pension plans
                      Union pension funds
     525120 - Health and Welfare Funds
         This industry comprises legal entities (i.e., funds, plans, and/or programs) organized to provide
         medical, surgical, hospital, vacation, training, and other health- and welfare-related employee
         benefits exclusively for the sponsor's employees or members.
                      Employee benefit plans (except pension)
                      Funds, health and welfare
                      Health and welfare funds
                      Plans, health and welfare related employee benefit
                      Union health and welfare funds

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  525190 - Other Insurance Funds
      This industry comprises legal entities (i.e., funds (except pension, and health- and welfare-related
      employee benefit funds)) organized to provide insurance exclusively for the sponsor, firm, or its
      employees or members. Self-insurance funds (except employee benefit funds) and workers'
      compensation insurance funds are included in this industry.
                    Compensation, workers, insurance funds
                    Funds, self-insurance (except employee benefit funds)
                    Self-insurance funds (except employee benefit funds)
                    Workers' compensation insurance funds
  525910 - Open-End Investment Funds
      This industry comprises legal entities (i.e., open-end investment funds) organized to pool assets
      that consist of securities or other financial instruments. Shares in these pools are offered to the
      public in an initial offering with additional shares offered continuously and perpetually and
      redeemed at a specific price determined by the net asset value.
                     Funds, mutual, open-ended
                     Investment funds, open-ended
                     Money market mutual funds, open-ended
                     Mutual funds, open-ended
  525920 - Trusts, Estates, and Agency Accounts [Except to the extent a Trustee or Custodian of a Trust
  whose beneficiaries are one or more Natural Persons, or an executor of an estate of a Natural Person,
  or a guardian of a Natural Person asserts otherwise permitted claims.]
        This industry comprises legal entities, trusts, estates, or agency accounts, administered on behalf
        of the beneficiaries under the terms of a trust agreement, will, or agency agreement.
                   Bankruptcy estates
                   Personal estates (i.e., managing assets)
                   Personal investment trusts
                   Personal trusts
                   Private estates (i.e., administering on behalf of beneficiaries)
                   Testamentary trusts
                   Trusts, estates, and agency accounts
  525990 - Other Financial Vehicles
      This industry comprises legal entities (i.e., funds (except insurance and employee benefit funds;
      open-end investment funds; trusts, estates, and agency accounts)). Included in this industry are
      mortgage Real Estate Investment Trusts (REITs). Illustrative Examples: Closed-end investment
      funds Special purpose vehicles Collateralized Mortgage Obligations (CMOs) Unit investment trust
      funds Face-amount certificate funds Mortgage real estate investment trusts (REITs) Real Estate
      Mortgage Investment Conduits (REMICs).
                    Closed-end investment funds
                    CMOs (collateralized mortgage obligations)
                    Collateralized mortgage obligations (CMOs)
                    Face-amount certificate funds
                    Funds, mutual, closed-end
                    Investment funds, closed-end
                    Money market mutual funds, closed-end
                    Mortgage real estate investment trusts (REITs)
                    Mutual funds, closed-end
                    Profit-sharing funds
                    Real estate mortgage investment conduits (REMICs)
                    REMICs (real estate mortgage investment conduits)
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                      Special purpose financial vehicles
                      Unit investment trust funds


V. Defense Contractors and Their Sub-Contractors and Suppliers

Claims from businesses and their employees for which at least 50% of annual revenue is generated from
contracts with the United States Department of Defense will be considered defense contractors.



VI. Real Estate Developers or Sellers

See Agreement sections 2.2.4.7 and 5.9.3.




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